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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

 KEROME LENDON PAISLEY,

                        Petitioner,

 vs.                                       Case No.   2:07-cv-370-FtM-29DNF
                                           Case No.    2:03-cr-74-FtM-29DNF

 UNITED STATES OF AMERICA,

                     Respondent.
 ___________________________________

                             OPINION AND ORDER

       This matter comes before the Court on petitioner Kerome Lendon

 Paisley’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

 Correct Sentence By a Person in Federal Custody (Doc. #1; Cr. Doc.

 #1)1 filed on June 6, 2007.          Petitioner filed a Memorandum of

 Points and Authorities (Doc. #5) on June 26, 2007.             The United

 States filed its Response in Opposition to Petitioner’s Motion to

 Vacate, Set Aside, or Correct Sentence, Pursuant to 28 U.S.C. §

 2255 (Doc. #6) on August 6, 2007.

                                      I.

       On June 25, 2003, a federal grand jury in Fort Myers, Florida

 returned a twelve-count Indictment (Cr. Doc. #39) naming petitioner

 Kerome Lendon    Paisley (petitioner or Paisley) and four other

 defendants. Petitioner was charged in Count One with conspiracy to



       1
       The Court will make references to the dockets in the instant
 action and in the related criminal case throughout this opinion.
 The Court will refer to the docket of civil habeas case as “Doc.”,
 and will refer to the underlying criminal case as “Cr. Doc.”
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 possess with intent to distribute 5 kilograms or more of cocaine;

 in Count Three with using and carrying a firearm and possession of

 a firearm in furtherance of a drug trafficking crime; and in Count

 Seven with possession of a firearm by a convicted felon.                             After a

 jury    trial   petitioner          was   convicted       of   all     three      counts   and

 sentenced to a total of 420 months imprisonment.                               Petitioner’s

 convictions      and    sentences         were     affirmed      in    United     States    v.

 Paisley, 178 Fed. Appx. 955 (11th Cir. 2006). Petitioner has filed

 a   timely     motion       under    28   U.S.C.     §    2255    alleging        claims   of

 ineffective assistance of counsel.                       The factual background was

 summarized in Paisley, 178 Fed. Appx. at 957-58.

                                             II.

        Issues of ineffective assistance of counsel can be raised in

 a § 2255 proceeding even where petitioner could have raised the

 issues on direct appeal but failed to do so.                           Massaro v. United

 States, 538 U.S. 500 (2003).               The Supreme Court established a two-

 part test for determining whether a convicted person is entitled to

 habeas relief on the ground that his or her counsel rendered

 ineffective assistance: (1) whether counsel’s representation was

 deficient,          i.e.,     “fell       below     an     objective         standard       of

 reasonableness” “under prevailing professional norms”; and (2)

 whether the deficient performance prejudiced the defendant, i.e.,

 there    was    a    reasonable       probability         that,       but   for    counsel’s

 unprofessional errors, the result of the proceeding would have been

 different.      Strickland v. Washington, 466 U.S. 668, 687-88 (1984).
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 A court must “judge the reasonableness of counsel’s conduct on the

 facts of the particular case, viewed as of the time of counsel’s

 conduct.”   Roe v. Flores-Ortega, 528 U.S. 470, 477 (2000) (quoting

 Strickland, 466 U.S. at 690).          This judicial scrutiny is “highly

 deferential.”     Id.   A court must adhere to a strong presumption

 that counsel’s conduct falls within the wide range of reasonable

 professional assistance.        Strickland, 466 U.S. at 689-90.          An

 attorney is not ineffective for failing to raise or preserve a

 meritless issue.     Ladd v. Jones, 864 F.2d 108, 109-10 (11th Cir.

 1989); United States v. Winfield, 960 F.2d 970, 974 (11th Cir.

 1992).

      The same deficient performance and prejudice standards apply

 to appellate counsel.         Smith v. Robbins, 528 U.S. 259, 285-86

 (2000); Roe v. Flores-Ortega, 528 U.S. at 476-77.            If the Court

 finds there has been deficient performance, it must examine the

 merits of the claim omitted on appeal.         If the omitted claim would

 have had a reasonable probability of success on appeal, then the

 deficient performance resulted in prejudice.            Joiner v. United

 States, 103 F.3d 961, 963 (11th Cir. 1997). Non-meritorious claims

 which are not raised on direct appeal do not constitute ineffective

 assistance of counsel.      Diaz v. Sec’y for the Dep’t of Corr., 402

 F.3d 1136, 1144-45 (11th Cir. 2005).

                                        A.

      Petitioner     alleges     that     his   trial   attorney   provided

 ineffective assistance by compelling him to testify as a witness at
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 his trial.    Petitioner asserts that if he had not taken the stand

 as a witness there is a reasonable possibility that the trial and

 sentencing outcomes would have been different because the jury

 would not otherwise have become aware of his criminal history and

 made an adverse credibility decision.        Petitioner asserts that he

 adamantly requested not to testify, and if he had been properly

 counseled, he would not have taken the stand to testify on his own

 behalf.   (Docs. ## 1, p. 4; 5, pp. 8-10.)

       It is clearly established that a criminal defendant has the

 right to testify on his own behalf.       Rock v. Arkansas, 483 U.S. 44,

 49 (1987).    It is also clear that the decision whether or not to

 testify at trial belongs to the defendant, and defense counsel

 cannot compel a client to testify or to refrain from testifying.

 United States v. Teague, 953 F.2d 1525, 1532 (11th Cir. 1992),

 cert. denied, 506 U.S. 842 (1992).        The issue is properly analyzed

 under the Strickland ineffective assistance of counsel standard.

 Id.

       The record reflects that petitioner knew he did not have to

 testify, since he was present in court during voir dire when the

 Court twice gave such an instruction to the potential jurors.          (Cr.

 Doc. #189, pp. 43, 81.)      Additionally, on the first day of trial

 petitioner heard his attorney tell the jurors during his opening

 statement that petitioner would be testifying on his own behalf

 (Cr. Doc. #189, p. 132) and heard him summarize the testimony he

 anticipated petitioner would give.        (Id. at 133-36.)    On the third

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 day of trial, petitioner heard his attorney tell the Court “Mr.

 Paisley still indicates he wants to testify.                I have no other

 witnesses besides that.”      (Cr. Doc. #191, p. 628.)        After the lunch

 break on the fourth day of trial defense counsel called petitioner

 to testify.    (Cr. Doc. #192, p. 743.)        Petitioner then testified at

 some length consistently with his attorney’s opening statement and

 with innocence.      (Cr. Doc. #192, pp. 743-807.)          The Presentence

 Report applied a two level upward adjustment for obstruction of

 justice    because   petitioner      testified    falsely   at    trial,   and

 petitioner testified that he read the              Presentence Report and

 discussed it with his attorney.             (Cr. Doc. #199, p. 3.)     At the

 sentencing hearing defense counsel made a lengthy objection to the

 adjustment (Cr. Doc. #199, pp. 18-22), and after hearing from the

 government the Court made detailed findings as to which portions of

 petitioner’s testimony the Court found were false. (Cr. Doc. #199,

 pp. 23-40.)    Petitioner then addressed the Court and re-iterated

 the gist of his trial testimony, but never indicated he had been

 compelled by his attorney to testify.           (Cr. Doc. #199, pp. 42-43.)

      The    Court    finds    that   the      record affirmatively refutes

 petitioner’s     claim   of    ineffective       assistance      of   counsel.

 Petitioner knew he had a constitutional right not to testify, knew

 his attorney had told the jury he would testify on his own behalf,

 heard his attorney later tell the Court he still wanted to testify,

 testified at length without hesitation, and failed to complain that

 he had been compelled to testify when he received an enhancement

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 for    perjury.     Additionally,     petitioner   has    not   established

 prejudice.    The fact that petitioner had a prior felony record was

 the subject of a stipulation (Gov. Exh. #33) since it was an

 element of the felon in possession of a firearm count.          None of the

 other defendants testified, and the only way petitioner could get

 his version before the jury was to testify.           Having presided over

 the trial, there is no doubt in the undersigned’s mind that the

 verdicts would have been the same had petitioner not testified.

                                       B.

        Petitioner   alleges    that     his   trial    attorney     provided

 ineffective assistance by failing to strike a potential juror who

 was biased in favor of the government.          Petitioner asserts that

 this juror had been employed with the U.S. Immigration and Customs

 Service and had previously prosecuted cases with the Assistant U.S.

 Attorney prosecuting petitioner’s case, and was therefore partial

 and biased.   Petitioner argues that this bias more likely than not

 spread throughout the jury room during deliberations. (Docs. ## 1,

 pp. 6-7; 5, pp. 11-13.)

        The record reflects that the only potential juror who matches

 petitioner’s description was Mr. Weaver.         (Cr. Doc. #189, pp. 28-

 29.)   Petitioner’s trial attorney exercised a preemptory challenge

 as to Mr. Weaver (Id. at 64), the Court excused Mr. Weaver as a

 juror (Id. at 66), and Mr. Weaver did not participate in the jury

 deliberations or verdict (Cr. Doc. #193, pp. 948-49).             Therefore,



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 the record establishes no ineffective assistance of counsel in

 regard to this issue.

                                          C.

       Petitioner     alleges      that      his     trial     attorney      provided

 ineffective assistance by failing to oppose, argue and/or appeal an

 erroneous two-level enhancement as an organizer or leader under

 U.S. Sentencing Guidelines § 3B1.1(b).              Petitioner asserts that he

 was not and could not have been an organizer or leader.                   (Docs. ##

 1, p. 7; 5, pp. 14-15.)

       The record reflects that petitioner’s attorney did object at

 the   sentencing    hearing      to   the      two-level      enhancement       as    an

 manager/supervisor, but his objection was overruled (Cr. Doc. #199,

 pp. 12-18.) Additionally, counsel did raise this enhancement as an

 issue on appeal, but the Eleventh Circuit rejected the claim.

 Paisley,   178    Fed.   Appx.   at   963.         Accordingly,     there       was   no

 ineffective assistance of counsel.

                                          D.

       Petitioner     alleges      that      his     trial     attorney      provided

 ineffective assistance by failing to investigate, oppose, brief,

 argue,   and/or    appeal     petitioner’s         erroneous     career     offender

 designation, which was premised on unconstitutional prior state

 convictions.       Petitioner     asserts         that   in   two   of    his    prior

 convictions from 1996 he was appointed counsel but the attorney

 misinformed him that if he pled guilty he would receive probation


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 and   “the    sentence     would     not   stamp       a   conviction       of    Paisley’s

 criminal record.”          (Doc. #5, p. 16.)               This results, petitioner

 argues, in his guilty pleas being unknowing and involuntary and

 therefore         unable   to   be    considered           in    the   career      offender

 designation.        (Docs. ## 1, pp. 8-9; 5, pp. 16-18.)

       It     is    clear   that      counsel     did       not    provide    ineffective

 assistance in connection with the prior convictions.                             It is well

 established that a federal criminal defendant cannot challenge his

 prior convictions which are used to enhance his sentence except for

 a conviction obtained in violation of the right to counsel. Custis

 v. United States, 511 U.S. 485 (1994). Petitioner concedes that he

 was represented by an attorney, and therefore there was no basis

 for his attorney to challenge those convictions in federal court.

       Accordingly, it is now

       ORDERED:

       1.      Petitioner’s Motion Under 28 U.S.C. § 2255 to Vacate, Set

 Aside, and to Correct, Sentence By a Person in Federal Custody

 (Doc. #1) is DENIED as to all claims for the reasons set forth

 above.

       2.      The Clerk of the Court shall enter judgment accordingly

 and close the civil file.              The Clerk shall place of copy of the

 civil Judgment in the criminal file.

       DONE AND ORDERED at Fort Myers, Florida, this                         23rd     day of

 July, 2008.




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